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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

  DANIELLEE L. JOURNEY,                         §
    Plaintiff,                                  §
                                                §
                                                §
  v.                                                  Civil Action No.: 3:18-cv-00512-N
                                                §
                                                §
  TEXAS HEALTH AND HUMAN                        §
  SERVICES COMMISSION,                          §
    Defendant.                                  §


                               ORDER GRANTING
                PLAINTIFF’S JOURNEY’S MOTION FOR CONTINUANCE

        Before the Court is Plaintiff Journey’s Motion for Continuance (“Motion”), filed by the

Plaintiff. The Court determines that the relief requested in the Motion is meritorious. Accordingly,

it is ORDERED that this action shall be taken off the January 27, 2020 trial docket. The Court will

enter a new trial setting via separate order.

        Signed January __, 2020.



                                                     ___________________________________
                                                               David C. Godbey
                                                          United States District Judge




Order Granting                                                                             Page Solo
Plaintiff Journey’s Motion for Continuance
